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Rob Cameron

Nathan D. Bilyeu

JACKSON, MuRDO & GRANT, P.C.
203 North Ewing

Helena, MT 59601

(406) 389-8244
rcameron@jmgattorneys.com
nbilyeu@jmgattorneys.com

Alexander A. Berengaut*
Megan A. Crowley*
COVINGTON & BURLING LLP
850 Tenth Street, NW
Washington, DC 20001

(202) 662-5367
aberengaut@cov.com
mcrowley@cov.com

*pro hac vice application filed
contemporaneously herewith

Attorneys for Plaintiff

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MONTANA
MISSOULA DIVISION

 

TIKTOK INC.,

Plaintiff,
CV-23-61-DLC
Vv.
DECLARATION OF ALEXANDER
A, BERENGAUT IN SUPPORT OF
MOTION FOR PRO HAC VICE
ADMISSION

AUSTIN KNUDSEN, in his official
capacity as Attorney General of the
State of Montana,

Defendant.

Neer? meee ame eee Neca” amet See” me” “nee eure” Seno” “Seman” “ome”

 
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I, Alexander A. Berengaut, state as follows:

1. I, by and through Montana counsel and pursuant to Rule 83.1(d) of the
Local Rules of Procedure of the United States District Court for the District of

Montana, respectfully apply to the Court to appear in this case pro hac vice on

behalf of Plaintiff.

2. I do not reside in Montana, nor am I regularly employed in Montana.
I reside in the District of Columbia and have my office at Covington & Burling LLP,

850 Tenth Street NW, Washington, DC 20001; Phone: (206) 622-5367; Fax: (202)

778-5367; Email: aberengaut@cov.com.

3. I will pay, simultaneously with filing this application, the admission

fee shown on the Court’s website.

4, 1 am proficient in electronic filing in another federal district court.

5. Lhave been admitted to practice before the following courts:

| Court : Date Admitted

New York State Bar 12/09/2008
Washington DC Bar 08/10/2009
U.S. District Court for the District of Columbia 11/07/2011
U.S. Court of Appeals for the District of Columbia | 09/16/2013

 

 

 

 

 

 

 

 

 

 

 

 

U.S. Court of Appeals for the Second Circuit 08/12/2014
U.S. Court of Appeals for the Ninth Circuit 08/08/2016.
U.S. Court of Appeals for the Third Circuit 09/04/2019
U.S. Court of Appeals for the First Circuit 10/21/2019
U.S. Supreme Court 11/09/2015

 

 
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My admission to these courts has not been terminated.

6. I am in good standing and eligible to practice in each of the courts
listed above and am not currently suspended or disbarred in any other court.

7, I have never been held in contempt, otherwise disciplined by any
court for disobedience to its rules or orders, or sanctioned under Federal Rules of
Civil Procedure 11 or 37(b), (c), (d), or (f) or their state equivalent.

8. ] am not currently making, nor have I made within the two years
preceding this application, any pro hac vice applications to the Court.

9. I understand that pro hac vice admission in this Court is persona! to
me only and not an admission of a law firm and that I wil! be held fully accountable
for the conduct of the litigation in this Court.

10. In accordance with Montana Rule of Professional Conduct 8.5, I
swear and affirm that I will be bound by the Montana Rules of Professional

Conduct (except Rules 6.1 through 6.4) in my practice of law in this State.

Furthermore, I understand and certify that I will be subject to the disciplinary
authority of this State. A copy of this certification will be mailed
contemporaneously to the State Bar of Montana in Helena. Furthermore, pursuant
to Local! Rule 83.2(a), I understand that the standards of professional conduct of
attorneys appearing in this Court include the American Bar Association’s Model

Rules of Professional Conduct and the Montana Rules of Professional Conduct.
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11. I swear and affirm under penalty of perjury that I am the applicant in
the above-styled matter; that I have read the foregoing application and know the
contents thereof; and that the contents are true to my knowledge.

Executed this 23rd day of May, 2023, at Washington, DC

CE b—PP

Alexander A. Berengaut
COVINGTON & BURLING LLP
850 Tenth Street, NW
Washington, DC 20001
(202) 662-5367
aberengaut(@cov.com

 
